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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



 IN RE: FORD MOTOR CO. F-150                    Civil Action No. 19-md-02901
 AND RANGER TRUCK FUEL                                            19-11728
 ECONOMY MARKETING AND
 SALES PRACTICES LITIGATION
                                                Hon. Sean F. Cox




ORDER GRANTING REQUEST TO WITHDRAW ATTORNEY TANA LIN
         AS COUNSEL OF RECORD FOR PLAINTIFFS

      This matter is before the Court on a stipulation to withdraw the appearance of

Tana Lin as counsel of record for plaintiffs in the above-captioned matter. The Court

has considered this request and finds that it should be granted.

      Accordingly, it is ORDERED that the appearance of attorney Tana Lin as

counsel of record for plaintiffs hereby is WITHDRAWN, and attorney Lin is

discharged from any further responsibility to the Court in this matter.

      It is further ORDERED that the Clerk of Court shall TERMINATE attorney

Lin’s appearances as counsel of record for plaintiff in this and all of the consolidated

matters.

Dated: March 27, 2020                          s/Sean F. Cox
                                               Sean F. Cox
                                               U. S. District Judge
